                   Case 1:19-cr-03113-JB Document 343 Filed 02/18/21 Page 1 of 1




             IJNITED STATES OF AMERICA
                         V.


                                                                         Case     No. 1084 l: I9CR03l l3-0lOJB

                       Sercio Valdez                            )
                          Defendant                             )

                                                 SUMMONS IN A CRIMINAL CASE

        YOU ARE SUMMONED to appear before the United States district court at the time, date, and place set forth
below to answer to one or more offenses or violations based on the following document fited with the court:

  E Indictment n Superseding Indictment D Information E                                 Superseding  Information fl Complaint
  E Pmbation Violation Petition E Supervised Release Violation                                D Violation Notice EI Order of Court
                                      Petition

  Place:                                                                      Courtroom       No.:   Zoom Vidco Conference
 This procceding will bc hcld via Zoom VideoAileb Confcrcncing wirh
 all participants appcaring remotcly; the Zoom ID and Passcode will be        Date and       Time:   O2.n1n02l @ t:30 p.m.
 provided separately to lhe participants' email address ofrecord.


This offense is briefly described as follorvs:
Defsndant violated pretrial supewision condition 7(m), in thar he provided positive drug tests.

 Date:     February 4,2021


                                                                                                                                   -:
                                                                         MITCHELL R. ELFERS. CLERK OF COURT
                                                                                                Printed name and tille       ,
                                                                                                                                 " , .,,-;..t:.   ,-'"




I declare under penalty ofperjury that I have:

 fi   Executed and retumed this sumrnons                                 f)   Returned this summons unexecuted

 ,rru, ?ft0fZl                                                                  ','+


                                                                                                  Server's signalure

                                                                              L.       //q   ppeo       S D qs^4
                                                                                                Printed name and litle
